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 1                       UNITED STATES DISTRICT COURT

 2                      EASTERN DISTRICT OF CALIFORNIA

 3                                    --o0o--

 4    G.P.P., INC.,                       )     Case No. 1:15-cv-00321-SKO
                                          )
 5                      Plaintiff,        )     Fresno, California
                                          )     Tuesday, June 20, 2017
 6         vs.                            )     8:26 A.M.
                                          )
 7    GUARDIAN PROTECTION PRODUCTS,       )     Jury Trial - Day 1.
      INC., et al.,                       )
 8                                        )
                        Defendants.       )
 9                                         )

10                        TRANSCRIPT OF PROCEEDINGS
                    BEFORE THE HONORABLE SHEILA K. OBERTO
11               UNITED STATES MAGISTRATE JUDGE, and a jury.

12    APPEARANCES:
      For Plaintiff:                      JOHN P. FLYNN
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                                                                        1-133


 1    Guardian's expectation, that's the word they use, that GIS

 2    would obtain a 30-percent share in each of its exclusive

 3    territories.

 4                 Now again, you'll hear deposition testimony from Mr.

 5    Taylor and I think the testimony I'm about to describe is

 6    memorable enough that you won't need me.          As you'll hear in his

 7    deposition testimony, Mr. Taylor, the author of this analysis

 a    is strangely reluctant to admit that Guardian had a 30-percent

 9    market share expectation, although that was precisely what he

10    wrote in this document.

11                 Again, the evidence is going to show that Mr.

12    Taylor's reluctance to own his own words -- Guardian's

13    reluctance doesn't really matter.          Ultimately Mr. Taylor admits

14    that a 30-percent market share is Guardian's sales strategy.

15    He admits it's Guardian's sales goal.          He admits that Guardian

16    felt it was achievable in all markets and that it was

17    realistic.     You'll hear him admit these things yourself.

18                 And GIS provided these and other of Guardian's

19    internal analyses to an expert, Peter Wrobel, in order to

20    obtain his opinion regarding the amount GIS has been damaged by

21    Guardian's conduct.     You'll hear Mr. Wrobel testify that he

22    calculated GIS's damages based on Guardian's own internal

23    business documents in the amount of $76 million.
24                 Now in sum, on the screen there are two defendants in

25    this case.     We've talked about Guardian at length.       Its




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                                                                        1-139


 1    affiliate, RPM Wood Finishes Group, Inc. is also a defendant in

 2    this case.    Ronnie Holman, Guardian's president and Johnny

 3    Green's boss will testify that even he doesn't know on whose

 4    behalf he and Mr. Green are acting at any given point or ever.

 5    To the extent they were acting on Guardian's behalf, the

 6    evidence is going to show that Guardian breached its contracts

 7    with GIS and the covenant of good faith and fair dealing

 8    contained in those contracts.

 9                To the extent they were acting on RPM's behalf, RPM

10    wrongfully interfered with GIS's rights under those same

11    contracts, and if even they can't tell the difference, if they

12   can't tell you whose behalf they were acting on, then both of

13   those defendants are responsible for the acts of their

14   employees.

15                Thank you very much for your attention this

16   afternoon.     Thank you for your commitment to serve.        My

17   partners and I look forward to presenting this evidence to you

18   in the days ahead.

19                THE COURT:   Thank you, Mr. Flynn.

20                Does the defense wish to present an opening

21   statement?

22                MR. DAVIS:   Yes, Your Honor.

23                THE COURT:   Thank you.       Please proceed, Mr. Davis.

24                       DEFENDANTS' OPENING STATEMENT

25               MR. DAVIS:    Hello again, everyone.       So it may not




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                                                                           1-249


 1    evening and I will see you back here at 8:15.
 2         (Whereupon the trial in the above-entitled matter was

 3    adjourned for the day at 5:08 p.m.)
 4                                    --o0o--

 5                                  CERTIFICATE

 6         I certify that the foregoing is a correct transcript from
 7    the electronic sound recording of the proceedings in the above-
 8    entitled matter.
 9
10    /s/ Jennifer Barris                         Date:    June 23, 2017

11    Jennifer Barris, Transcriber
12    AAERT CET*668
13
14
15   /s/ Mary C. Clark
     .                                             Date:    June 23, 2017

16   Mary C. Clark, Transcriber
17   AAERT CERT*D-00214
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